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     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                        )     CASE NO.: 2:05-CR-542-GEB
11                                                    )
                            Plaintiff,                )     STIPULATION RE: PERMISSION
12                                                    )     FOR DEFENDANT TO LEAVE
     vs.                                              )     CENTRAL DISTRICT JURISDICTION;
13                                                    )     ORDER THEREON
     NAM PHAMTRAN,                                    )
14                                                    )
                            Defendant.                )
15                                                    )
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              IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
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     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
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              1.    Defendant Nam Phamtran be permitted to leave the jurisdiction of the Central District
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     in order to attend the Kitchen and Bath Show, for work purposes in Chicago, Illinois, from April 10,
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     2008, to April 14, 2008,, for a period of five days;
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              2.    Defendant Nam Phamtran, upon arriving in Chicago, Illinois shall contact his pretrial
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     services officer, STACY BARRIOS (714) 338-4561, and advise him of the defendant's location of
23
     residence and telephone number in Chicago, Illinois; and
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              3.    Defendant Nam Phamtran, upon return to his place of residence in the Central
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     District shall contact his pretrial services officer, STACY BARRIOS (714) 338-4561, and advise
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     him of defendant’s return from Chicago, Illinois.
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     ///
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     ///

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       Case 2:05-cr-00542-GEB Document 127 Filed 04/07/08 Page 2 of 2


 1   DATED: April 4, 2008
 2
 3                                                 /S/ Alex R. Kessel
                                               ALEX R. KESSEL
 4                                             Attorney for Defendant,
                                               NAM PHAMTRAM
 5
 6   DATED: April 4, 2008
 7
 8
                                                      /S/ Matthew Stegman
 9                                             MATTHEW STEGMAN
                                               Assistant United States Attorney
10                                             for Plaintiff, UNITED STATES OF AMERICA
11
                                        ORDER
12
           GOOD CAUSE APPEARING, IT IS SO ORDERED.
13
14   Dated: April 4, 2008

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16                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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